Case 7:97-cr-00024-MFU         Document 609 Filed 07/24/12         Page 1 of 1     Pageid#:
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FA H E D T.TA W A LBEH ,                         C ivilAction N o.7:00cv00858

V.                                               FIN AL O R DER

UN IT ED STAT ES O F A M E R IC A                By:Sam uelG.W ilson
                                                 U nited States D istrictJudge

       ln accordance w ith this court's m em orandum opinion entered this day,itis O RD ERED

and ADJUDGED thatTawalbeh's motion (DocketNo.27)isCONSTRUED asa motion to
vacate,setaside,orcorrectsentence,pursuantto 28U.S.C.j2255,and the Clerk isdirectedto
FILE themotion assuch;the j2255motion isDISM ISSED withoutprejudiceassuccessive;
and the case is STRIC K EN from the active docket.

       Further, the court finds that Taw albeh has not m ade the requisite showing of the

substantialdenialofa constitutionalrightasrequired by 28 U.S.C.j2253/)and,therefore,a
certificate ofappealability isD EN IED .
       EN TE R :July 24,2012.                                             C


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                                                 tçnite statesDistrictJudge
